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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 CENTER FOR ENVIRONMENTAL
 SCIENCE, ACCURACY, &
 RELIABILITY, et al.,

         Plaintiffs,
           v.                                           Civil Action No. 17-2313 (JDB)
 UNITED STATES DEPARTMENT OF
 THE INTERIOR, et al.,

         Defendants,

 NATURAL RESOURCES DEFENSE
 COUNCIL, INC., et al.,

         Defendant-Intervenors.




                                           ORDER

       Upon consideration of [20] the parties’ proposed joint briefing schedule, and the entire

record herein, it is hereby ORDERED that the following schedule shall govern further

proceedings in this matter:

   1. By not later than February 26, 2018, Federal Defendants shall serve a copy of the
      administrative record upon the parties in electronic format.

   2. By not later than March 28, 2018, Plaintiffs and Defendant-Intervenors shall notify Federal
      Defendants whether Plaintiffs or Defendant-Intervenors believe that the administrative
      record is complete or, instead, should be supplemented and/or augmented with additional
      materials.

   3. By not later than April 12, 2018, Federal Defendants shall respond to any such notice, and
      the parties will attempt to resolve informally any disputes regarding the contents of the
      administrative record.




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   4. By not later than April 19, 2018, the parties shall file a joint status report notifying the
      Court whether the parties have reached agreement that the record for judicial review is
      complete. If any disputes regarding the contents of the administrative record cannot be
      resolved informally, the parties will propose a briefing schedule for the filing of motions
      to resolve such disputes.

   5. If the parties agree that the administrative record is complete, Federal Defendants shall file
      with the Court the certified list of the record’s contents by not later than April 26, 2018. If
      instead a motion pertaining to the record is filed, Federal Defendants shall file with the
      Court the certified list of the record’s contents by not later than 14 days following the
      Court’s disposition of any such motion.

   6. By not later than 60 days after the filing of the certified list of the administrative record’s
      contents, Plaintiffs shall file their motion for summary judgment on the administrative
      record.

   7. By not later than 30 days after the filing of Plaintiffs’ motion for summary judgment,
      Federal Defendants shall file their combined cross-motion for summary judgment on the
      administrative record and opposition to Plaintiffs’ motion for summary judgment.

   8. By not later than 7 days after the filing of Federal Defendants’ combined cross-motion for
      summary judgment and opposition, Defendant-Intervenors shall file their combined cross-
      motion for summary judgment on the administrative record and opposition to Plaintiffs’
      motion for summary judgment.

   9. By not later than 30 days after the filing of Defendant-Intervenors’ cross-motion for
      summary judgment and opposition, Plaintiffs shall file their combined opposition and reply
      to the pending motions.

   10. By not later than 30 days after the filing of Plaintiffs’ combined opposition and reply,
       Federal Defendants shall file their reply to the pending motions.

   11. By not later than 3 days after the filing of Federal Defendants’ reply, Defendant-
      Intervenors shall file their reply to the pending motions.


      SO ORDERED.

                                                                            /s/
                                                                    JOHN D. BATES
                                                              United States District Judge


Dated: January 30, 2018


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